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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


    KIERRA THOMAS, ET AL.                                      CIVIL ACTION

    VERSUS                                                        NO. 18-4373

    RANDALL CHAMBERS, ET AL.                                 SECTION “R” (4)

                                   ORDER

       The Court has received reliable information that there is an ongoing

criminal investigation by the U.S. Attorney’s Office that may involve this

proceeding and/or witnesses or counsel to the proceeding. 1 The Court finds

that it is in the best interest of the parties, the court, and the public to stay

this proceeding pending the conclusion of this criminal investigation. See

Dolan v. Parish of St. Tammany, No. 12-2911, 2013 WL 3270616, at *6 (E.D.

La. June 26, 2013) (“In determining whether to stay civil cases in the face of

parallel criminal proceedings, courts consider 1) the overlap between the civil

and criminal case; 2) the status of the criminal case; 3) private interests of

the plaintiff; 4) private interest of the defendants; 5) the interests of the

court; and 6) the public interest.”). This stay will protect plaintiffs from any

risks associated with testifying in this proceeding while this criminal


1      At a status conference before the Court on May 28, 2019, defendants’
counsel and plaintiffs’ counsel both submitted to the Court documentation
for in camera review establishing the existence of this criminal investigation.

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investigation is pending. This stay is also in defendants’ interests, because

proceeding to trial before the criminal investigation concludes could result

in certain witnesses for the defense invoking their Fifth Amendment

privilege.

      This stay applies to all aspects of this litigation, including any pending

motions currently before Magistrate Judge Roby.          The matter may be

reopened upon the motion of either party demonstrating that the criminal

investigation has concluded, at which time a new trial date will be set.

Finally, plaintiffs are advised that they should obtain independent legal

advice concerning any risks they may face in continuing with this litigation.

      IT IS ORDERED that the above-captioned case is STAYED and

administratively closed.



             New Orleans, Louisiana, this _____
                                           29th day of May, 2019.


                       _____________________
                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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